                       Case 4:12-cr-00300-KGB                     Document 269          Filed 11/13/15          Page 1 of 5
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                     Sheet I



                                             UNITED STATES DISTRICT COURT                                                 NOV 13 2015
                                                           Eastern District of Arkansas                      ~~:M~~ERK
                                                                          )                                                                DEP CLERK
               UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                     )
                        BRIAN E. HARTMAN                                  )
                                                                                  Case Number: 4:12-cr-00300-06
                                                                          )
                                                                          )      USM Number: 19650-111
                                                                          )
                                                                          )        J. BLAKE HENDRIX
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          1s
                                    ~------------------------------------




0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 21 U.S.C. §§ 841 (a}(1}            Conspiracy to Possess with Intent to Distribute Marijuana                6/10/2011                    1s

 and (b)(1 )(C) and 846



       The defendant is sentenced as provided in pages 2 through          __5___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

Ill Count(s)    ~------------
                                                        l;z] is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          11/12/2015
                                                                         Date of Imposition of Judgment




                                                                          Kristine G. Baker, U.S. District Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 4-Probation
                                                                                                             Judgment-Page _ _ _ of
 DEFENDANT: BRIAN E. HARTMAN
 CASE NUMBER: 4:12-cr-00300-06
                                                                  PROBATION
 The defendant is hereby sentenced to probation for a term of :

 48 months.




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall Jlermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
        Sheet 4C - Probation
                                                                                           Judgment-Page    3     of       5
DEFENDANT: BRIAN E. HARTMAN
CASE NUMBER: 4:12-cr-00300-06

                                          SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall perform 300 hours of community service within the term of probation under the guidance and
  supervision of the probation office.

  The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
  treatment program which may include drug testing, outpatient counseling and residential treatment.

  The defendant shall not make application for any loan or enter into any credit arrangement without approval from the
  probation office unless all criminal penalties have been satisfied.

  The defendant shall disclose business and personal information, including all assets (including unexpected financial gains)
  and liabilities to the probation office.

  The defendant shall not transfer, sell, give away or otherwise convey an asset without approval from the probation office.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment -    Page         of   5
 DEFENDANT: BRIAN E. HARTMAN
 CASE NUMBER: 4:12-cr-00300-06
                                                   CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                            Fine                                   Restitution
 TOTALS             $    100.00                                           $    500.00                            $


 D The determination of restitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.ayment, unless specified otherwise in
       the priority or~er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the Umted States is paid.

   Name of Payee                                                                Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                               $                         0.00


 D      Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 lZI    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        lZI the interest requirement is waived for the         lZI fine       D restitution.
        D the interest requirement for the          D   fine     D     restitution is modified as follows:

 *Findings forthe total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments

                                                                                                                Judgment -   Page            of
 DEFENDANT: BRIAN E. HARTMAN
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~    Lump sum payment of$           100.00
                                         -------
                                                                 due immediately, balance due

            D      not later than                                     , or
            i;zi   in accordance         D C,        D D,        D     E, or     1J1 F below; or
 B     D Payment to begin immediately (may be combined with                    oc,         D D, or       D F below); or
 C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     ~    Special instructions regarding the payment of criminal monetary penalties:
             Beginning the first month of probation, payments will be 10 percent per month of the defendant's monthly gross
             income. Interest is waived.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through tbe Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
